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ATTORNEY FOR PLAINTIFF
UNITED STATES OF AMERICA

                IN THE UNITED STATES DISTRICT COURT 

                    FOR THE DISTRICT OF MONTANA 

                        GREAT FALLS DIVISION 


 UNITED STATES OF AMERICA,               CR 19-Q3.GF- Bffi,Y\

               Plaintiff,                INDICTMENT

         vs.                             THEFT FROM AN INDIAN TRIBAL 

                                         GOVERl"lMENT RECEIVING FEDERAL 

                                         FUNDING 

 WILLIE ANDREW SHARP,
                                         (Count I) 

                                         Title 18 U.S.c. §§ 2 and 666(a)(I)(A) 

               Defendant.                (Penalty: Ten years imprisonment, 

                                         $250,000, and three years of supervised 

                                         release) 


                                         WIRE FRAUD 

                                         (Count II) 

                                         Title 18 U.S.C. §§ 2 and 1343 

                                         (penalty: 20 years imprisonment, S250,000 

                                         fine, and three years supervised release) 


                                         FORFEITURE 

                                         18 U.S.C. § 981(a)(I) 

                                         28 U.S.C. 2461 c 




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THE GRAND JURY CHARGES: 


                                 INTRODUCTION 


      At all times relevant to this indictment: 


      1.      Head Start is overseen by the United States Department of Health and

Human Services (HHS), Office of Administration for Children and Family Services.

The Head Start program was designed to help break the cycle of poverty, providing

preschool children of low-income families with a comprehensive program to meet

their emotional, social, health, nutritional, and psychological needs. Head Start

and Early Head Start programs provide services to over a million children every

year, in every U.S. state and territory, in fannworker camps, and in over 155 tribal

communities. Those who participate in the Head Start Program receive federal

grants from HHS, which is a federal agency and provides federal funds.

      2.      On or about April 23, 2012, the Blackfeet Tribe ofthe Blackfeet

Nation submitted an application for a continuation grant from HHS for its Head

Start Program. The application called for funding from HHS for the period

starting from August 1,2012, through July 31, 2013. On or about August 7, 2012,

the Administration for Children and Family Services awarded the Blackfeet Head

Start Program $3.6 million in federal funds for the period from August 1, 2012,

through July 31, 2013.

      3.      On or about May 6, 2013, the Blackfeet Tribe of the Blackfeet Nation



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submitted an application for a continuation grant from HHS for its Head Start

Program. The application requested funding from HHS for the period starting

from August 1, 20l3, through July 31, 2014. On or about August 2, 2013, the

Administration for Children and Family Services awarded the Blackfeet Head Start

Program $3.4 million in federal funds for the period from August 1, 20l3, through

July 31, 2014.

      4.       The defendant, WILLIE ANDREW SHARP, was the Chairman ofthe

Blackfeet Tribe and ultimately oversaw the Blackfeet Head Start Program. Denise

L. Sharp was the Personnel Manager for the Head Start Program. Theresa Marie

Calf Boss Ribs was the Early Head Start Manager, and served in other roles, for the

Head Start Program. Patrick H. CalfBoss Ribs, Jr., was the Nutrition Manager and

the Payroll Clerk for the Head Start Program. Allen Shane Goss was the Custodian

for the Head Start Program.

      5.       WILLIE ANDREW SHARP authorized, approved, and ensured others

authorized and approved overtime at the Blackfeet Head Start Program, all while

knowing such overtime to be materially false and fraudulent, in whole and in part.

All total, individuals at Blackfeet Head Start, including Denise L. Sharp, the wife of

the defendant, WILLIE A.NDREW SHARP, claimed more than 7,800 hours in

overtime and received over $232,000.00 in federal funds from the Head Start

Program in a I5-month time frame.



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                                     COUNT I 


      Beginning in or about April 2013, and continuing thereafter until in or about

July 2014, at Browning and within Glacier County, in the State and District of

Montana, and other places, the defendant, WILLIE ANDREW SHARP, the

Chainnan ofthe Blackfeet Tribe, an Indian tribal government, and the individual

who ultimately oversaw the Blackfeet Head Start Program, an agency of Indian

tribal government and organization, intentionally misapplied, embezzled, stole, and

obtained by fraud, and otherwise without authority knovvingly converted to his

own use and the use of others, property valued at more than $5,000, that was

owned by, and under the care, custody, and control of such an Indian tribal

government, and agency thereof, that is, the defendant, WILLIE ANDREW

SHARP, embezzled, converted, and misapplied monies and funds by issuing,

causing to be issued, and receiving, in whole and in part, illegitimate and

fraudulent payments from the Blackfeet Head Start Program, and aided and abetted

the same, all in violation of 18 U.S.C. §§ 666(a)(l )(A) and 2.

                                     COUNT II

      Beginning in or about April 2013, and continuing thereafter until in or about

July 2014, at Browning and within Glacier County, in the State and District of

Montana, and other places, the defendant, WILLIE ANDREW SHARP, and others,

having devised and intending to devise a material scheme and artifice to defraud



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the Blackfeet Tribe and HIlS, for the purpose of executing such scheme and

artifice, and attempting to do so, did knowingly transmit and cause to be

transmitted by means of wire communication in interstate and foreign commerce,

writings, signs, signals, pictures, and sounds for the purpose of executing such

scheme and artifice.

           THE SCHE:ME TO APPROVE AND FALSIFY OVERTI:ME

      During the period ofthe indictment, it was part of the scheme and artifice to

defraud the Blackfeet Tribe and HIlS that Denise L. Sharp, Theresa Marie Calf

Boss Ribs, Patrick H. Calf Boss Ribs, Jr., Allen Shane Goss, and others, would

fraudulently claim overtime hours from the Blackfeet Head Start Program, submit

those fraudulent hours for payment, and receive such payment, all while knowing

that they did not work all ofthe claimed overtime hours.

      It was further part ofthe scheme and artifice to defraud the Blackfeet Tribe

and HHS that the defendant, WILLIE ANDREW SHARP, would perpetuate those

fraudulent overtime claims by approving, and demanding that others approve, such

fraudulent claims, including those fraudulent claims for overtime hours made by

his wife, Denise L. Sharp, all while knowing such claims to be materially false, in

whole and in part.




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                THE INTERSTATE WIRE COMMUNICATIONS

      During the period of the indictment, the defendant, WILLIE ANDREW

SHARP, together and with others, having devised and intending to devise a

material seheme and artifice to defraud, a." described herein, for the purpose of

exeeuting the scheme to defraud, did cause to be deposited payroll checks in banks

located in the State of Montana, thereby transmitting and causing to be transmitted

by means of wire eommunication affecting interstate commeree, writings, signs,

signals, pictures, and sounds for the purpose of executing such scheme and artifice,

from the State of Montana, and elsewhere, through Minneapolis, in the State of

Minnesota, and elsewhere, and aided and abetted the same, in violation of

18 U.S.c. §§ 1343 and 2.

                   CRIMINAL FORFEITURE ALLEGATION

      The allegations set forth in counts I and II ofthe indictment are re-alleged as

though fully set forth herein and incOIporated by reference for the purpose of

alleging forfeiture to the United States of America pursuant to the provisions of 18

U.S.C. § 981(a)(1) and 28 U.S.C. § 2461(c).

      Upon conviction of any eharge in the indictment, the defendant, WILLIE

ANDREW SHARP, shall forfeit to the United States, any property, real and

personal, which constitutes and is derived from proceeds traceable to the offense,




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pursuant to 18 U.S.C. § 98 I (a)(l) and 28 U.S.C. § 2461 (c). The property subject

to forfeiture includes the following:

   • 	 A money judgment in the amount of $38,711.00.

      The defendant shall forfeit to the United States any other property of the

defendant, up to the value of the property described above, pursuant to 21 U.S.C.

§ 853(p), if any ofthe property described above as being subject to forfeiture, as a

result of any action or omission of the defendant:

      a. 	 Cannot be located upon the exercise of due diligence;

      b. 	 Has been transferred or sold to, or deposited with, a third party;

      c. 	 Has been placed beyond the jurisdiction ofthe Court;

      d. 	 Has been substantially diminished in value; and

      e. 	 Has been commingled with other property that cannot be divided without

          difficulty

         II 


         II 


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     A TRUE BILL. 
                Foreperson signature redacted. Original document filed
                                   under seal.




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Criminal ChiefAssistant u.s. Attorney




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                                                     BClil,_ _ _ __

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